



 





THIS OPINION
  HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN
  ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 268(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
William Deans, Appellant,
v.
South Carolina Department
      of Corrections, Respondent.
      
    
  


Appeal from the Administrative Law Court
&nbsp;Ralph King Anderson, III, Administrative
  Law Court Judge

Unpublished Opinion No.&nbsp; 2011-UP-483&nbsp;
Submitted October 1, 2011  Filed October
  28, 2011 

AFFIRMED


  
    
      
William Deans, pro se, of Columbia.
Christopher D. Florian, of Columbia, for Respondent.
      
    
  

PER CURIAM: &nbsp;William Deans, a civilly committed sexually violent
  predator (SVP), appeals the dismissal of his Department of Corrections (DOC)
  grievance by the Administrative Law Court (ALC).&nbsp; He argues he is entitled to
  grievance procedures provided by DOC to SVPs to redress grievances arising from
  DOC's control, care, and treatment.&nbsp; We affirm[1] pursuant to Rule 220(b)(1), SCACR, and the following authorities: S.C. Code
  Ann. § 1-23-610(B) (Supp. 2010) (limiting reversal of an ALC decision unless
  "in violation of constitutional or statutory provisions; . . . [or] clearly
  erroneous in view of the reliable, probative, and substantial evidence on the
  whole record"); S.C. Code Ann. § 1-23-600(D) (Supp. 2010) (providing the
  ALC "shall preside over all appeals from final decisions of contested
  cases"); S.C. Code Ann. § 1-23-310(3) (2005) (defining "contested
  case" as a proceeding "in which the legal rights, duties, or
  privileges of a party are required by law to be determined by an agency after
  an opportunity for hearing"); Al-Shabazz v. State, 338 S.C. 354, 375,
  527 S.E.2d 742, 753 (2000) ("An inmate brings a contested case for the
  purposes of judicial review when he challenges a disciplinary outcome,
  calculation of sentence related credits, custody status, or other condition of
  imprisonment."); S.C. Code Ann. § 44-48-100(A) (Supp. 2010) ("If the
  court or jury determines that the person is a [SVP], the person must be
  committed to the custody of the Department of Mental Health . . .
  ." (emphasis added)).
AFFIRMED.
FEW, C.J., THOMAS and KONDUROS, JJ., concur.


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

